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                       UNITED STATES DISTRICT COURT

                           DISTRICT OF CONNECTICUT

NICHOLAS CLARK                        :      CIVIL NO. 3:19CV00575 (VLB)

     v.                               :

COOK, ET AL.                          :      NOVEMBER 6, 2019

                       MEMORANDUM IN SUPPORT OF
                  MOTION FOR MENTAL HEALTH EVALUATION
                       PURSUANT TO FED. R. CIV. P. 35

      I.    Introduction

      This is an action for equitable relief brought pursuant to 42 U.S.C. § 1983

and alleging violations of the United States Constitution. The plaintiff, Nicholas

Clark, is a convicted, sentenced inmate, serving a sentence and confined at

Garner Correctional Institution in Newtown, Connecticut. He alleges deliberate

indifference to his serious health needs related to his diagnosis with gender

dysphoria. He seeks extensive transitioning treatments from male to female

including sex reassignment surgery, hormonal treatments, hair, breast, hip,

buttocks, lip, and other surgical augmentations, facial reconstruction, Adam's

apple reduction, and more. He also seeks access to the female commissary list

and money damages.

      The defendant, Dr. Valletta, is sued in his individual and official capacities.

He now moves, pursuant to Rule 35 Fed. R. Civ. P., to compel a mental health

examination and evaluation of the Plaintiff so that an adequate assessment of his

underlying gender dysphoria may be secured which also addresses the

extraordinary remedies Plaintiff seeks.
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      II.   The time, place, manner, conditions, and scope of the
            examination, and the person or persons by whom it is to be
            made

      The proposed examination will be conducted by Stephen B. Levine, MD,

Clinical Professor of Psychiatry Case Western Reserve University School of

Medicine. Dr. Levine is a psychiatrist. His CV is attached as Exhibit 1. He would

conduct an interview of the Plaintiff of approximately 4 hours at Garner

Correctional Institution in Newtown, Connecticut. The exact date would be

dependent on scheduling following the Court's order granting this motion and the

administration of the psychological tests described below. The psychological

tests include the Minnesota Multiphasic Personality Inventory (MMPI) (the most

widely used and researched clinical assessment tool used by mental health

professionals to help diagnose mental health disorders), and the Millon Clinical

Multiaxial Inventory-III (MCMI-III) (a well-recognized instrument providing a

measure of personality disorders and clinical syndromes for adults undergoing

psychological or psychiatric assessment or treatment). It is proposed that those

tests be completed in the month prior to Dr. Levine's personal interview of

Plaintiff and be interpreted by a Garner Correctional Institution in-house

psychologist, such as Dr. Lilith Pieri. They consist of true/false questionnaires

that can be done in 2.5 and 1 hour periods, respectively, for literate and

reasonable intelligent people and it is expected that Plaintiff falls within that

category.




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      III.   Argument

      “Rule 35 … requires discriminating application by the trial judge, who must

decide, as an initial matter in every case, whether the party requesting a mental or

physical examination or examinations has adequately demonstrated the

existence of the Rule's requirements of ‘in controversy’ and ‘good cause,’ … “

Schlagenhauf v. Holder, 379 U.S. 104, 118-19 (1964). Here, the Plaintiff's

allegations and exhibits accompanying his complaint, and the answer filed by Dr.

Valletta, demonstrate that various issues are "in controversy" and demonstrate

the "good cause" basis to grant this motion.

      Plaintiff alleges that prison officials, presumably including the Defendant,

have "refused to offer any assistance to help her live in accordance with her

gender identity." (ECF No. 1 ¶9). Defendant denies that allegation (ECF No. 22,

Answer at ¶9). The complaint also alleges that as a result of denial of medical

care Plaintiff has suffered enormous psychological and physical pain, including

attempted autocastration, and that Defendant continues to refuse medical care

related to Plaintiff's gender identity. (ECF No. 1 at ¶¶10-11). Defendant denies

those allegations to the extent they refer to him (ECF No. 22 at ¶¶10-11). Plaintiff

further alleges that "denial of medical treatment … is a clear deviation from the

standard medical care, and the repeated request by the Plaintiff [for the extensive

bodily alterations described above] not only substantiates the severity of the

syndrome but also the emotional distress associated with its necessity." (ECF

No. 1 at ¶15). To the extent the allegations o f¶15 are directed at the Defendant, it

is denied. (ECF No. 22 at ¶15). Plaintiff alleges the experience of shock,


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humiliation, embarrassment, neglect and mental anguish" as a result of

Defendant's allegedly "extreme and outrageous" conduct (ECF No. 1 at ¶17). To

the extent that allegation is directed at the Defendant it is denied. (ECF No, 22 at

¶17). Defendant has also alleged affirmative defenses including qualified

immunity and absence of a prior physical injury as a result of any action by the

Defendant, thus barring the claim pursuant to 42 U.S.C. §1997e(e). (ECF No. 22,

First and Fourth affirmative defenses).

      This Court has a good documentary record and basis, both from the

complaint and its exhibits and the answer, to determine whether or not plaintiff’s

physical and mental health is “in controversy” – an obviously easy question for

the Court in this case, and whether “good cause” exists, to grant the motion.

      This does not, of course, mean that the movant must prove his case
      on the merits in order to meet the requirements for a mental or
      physical examination. Nor does it mean that an evidentiary hearing is
      required in all cases. This may be necessary in some cases, but in
      other cases the showing could be made by affidavits or other usual
      methods short of a hearing. It does mean, though, that the movant
      must produce sufficient information, by whatever means, so that the
      district judge can fulfill his function mandated by the Rule.

Schlagenhauf    v.   Holder,   379   U.S.   104,   119   (1964).   In   Gattegno   v.

Pricewaterhousecoopers, LLP, 204 F.R.D. 228, 230 (D. Conn. 2001), Magistrate

Judge Fitzsimmons granted a Rule 35 mental examination, noting that when a

plaintiff has placed his mental condition or the mental health care in controversy,

that also satisfies the “good cause” requirement of Rule 35, noting that physical

and mental evaluations have been ordered in prisoner civil rights cases, citing in

part to Hodges v. Keane, 145 F.R.D. 332, 334 (S.D.N.Y.1993) (where Judge



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Sotomayor, before being elevated to the Second Circuit, held that “[h]ad plaintiff

elected to assert the existence of an ongoing mental illness resulting from

defendants' acts or omissions, defendants would undoubtedly be entitled to an

order under Rule 35(a) allowing them to conduct a psychiatric evaluation to

determine the existence of such a condition”) (citation omitted).” Gattegno v.

Pricewaterhousecoopers, LLP, 204 F.R.D. 228, 230-31 (D. Conn. 2001).

      See also Large v. Our Lady of Mercy Medical Center, No. 94 Civ. 5986(JGK)

(THK), 1998 WL 65995, *6 (S.D.N.Y.1998) (good cause usually exists where party

has placed mental condition in controversy); Duncan v. Upjohn Co., 155 F.R.D.

23, 25 (D.Conn.1994) (“By claiming ongoing psychiatric harm cause by the

negligence of the defendant, therefore, the plaintiff has placed his mental state in

controversy, which in turn constitutes good cause for ordering a psychiatric

examination...”). Gattegno, 204 F.R.D. at 230.

      In Hodges, Justice Sotomayor made clear that where, as here, the prisoner

plaintiff is alleging on-going pain and suffering due to alleged denial of on-going

treatment, the Court should “undoubtedly” grant the Rule 35 motion. The

prisoner in Hodges, did “not claim that the treatment he received from defendants

has resulted in ongoing pain and suffering requiring psychiatric treatment.

Rather, [Hodges] asserts that he suffered pain and suffering at the time his rights

were violated. This distinction is important. Had plaintiff elected to assert the

existence of an ongoing mental illness resulting from defendants' acts or

omissions, defendants would undoubtedly be entitled to an order under Rule

35(a) allowing them to conduct a psychiatric evaluation to determine the


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existence of such a condition. See, e.g., Sibbach v. Wilson & Co., 312 U.S. 1, 61

S.Ct. 422, 85 L.Ed. 479 (1941).” Hodges v. Keane, 145 F.R.D. 332, 334 (S.D.N.Y.

1993).

         In addition to the foregoing, Plaintiff's prayer for injunctive relief warrants a

mental         examination   because   the    precise   nature,   history,   and   current

manifestation of the underlying diagnosis of gender dysphoria must be

thoroughly understood by Defendant's expert in order to assess the merits, if

any, of the relief sought.

         IV.      Conclusion

         Defendants respectfully request that plaintiff be compelled to submit to the

psychiatric evaluation by Dr. Levine and to complete the MMPI and the MCMI-III

as described above.



                                             DEFENDANT
                                             Dr. Valletta

                                             WILLIAM TONG
                                             ATTORNEY GENERAL



                                       BY:_/s/ Thomas J. Davis, Jr.
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                                   CERTIFICATION

      I hereby certify that on November 6, 2019, a copy of the foregoing was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation

of the Court's electronic filing system. Parties may access this filing through the

Court's system.

      Further, I hereby certify that a copy of the foregoing was mailed to the

following on this 6th day of November, 2019, to:

      Nicholas Clark, Inmate #355139
      Garner Correctional Institution
      55 Nannawauk Road
      Newtown, CT 06470


                                        _/s/ Thomas J. Davis, Jr.
                                        Thomas J. Davis, Jr.
                                        Assistant Attorney General




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